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 6                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
 7

 8 UNITED STATES OF AMERICA,                       2:18-CR-302-JAD-NJK

 9                Plaintiff,                       Preliminary Order of Forfeiture

10         v.

11 RICHARD FRED DITTMER, III,

12                Defendant.

13         This Court finds Richard Fred Dittmer, III, pled guilty to Counts One and Two of a
14 Two-Count Superseding Criminal Information charging him in Count One with receipt of

15 child pornography in violation of 18 U.S.C. § 2252A(a)(2) and in Count Two with attempt

16 sexual exploitation of a child, in violation of 18 U.S.C. § 2251(a). Superseding Criminal

17 Information, ECF No. __; Change of Plea, ECF No. __; Plea Agreement, ECF No. __.

18         This Court finds Richard Fred Dittmer, III, agreed to the forfeiture of the property
19 set forth in the Plea Agreement and the Forfeiture Allegation of the Superseding Criminal

20 Information. Superseding Criminal Information, ECF No. __; Change of Plea, ECF No. __;

21 Plea Agreement, ECF No. __.

22         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2), the United
23 States of America has shown the requisite nexus between property set forth in the Plea

24 Agreement and the Forfeiture Allegation of the Superseding Criminal Information and the

25 offenses to which Richard Fred Dittmer, III, pled guilty.

26         The following property is (1) any visual depiction described in 18 U.S.C. § 2251 or
27 18 U.S.C. § 2252A, or any book, magazine, periodical, film, videotape, or other matter

28 which contains any such visual depiction, which was produced, transported, mailed,
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 1   shipped or received in violation of 18 U.S.C. §§ 2251(a) and 2252A(a)(2); and (2) any

 2   property, real or personal, used or intended to be used to commit or to promote the

 3   commission of 18 U.S.C. §§ 2251(a) and 2252A(a)(2) or any property traceable to such

 4   property, and is subject to forfeiture pursuant to 18 U.S.C. §§ 2253(a)(1) and (a)(3):

 5                    1. LG Cellular Phone, model number LG-K330 LK7, serial number

 6                       609CYWC104577, including its SIM card, bearing number

 7                       8901260772185818572; and

 8                    2. Samsung Galaxy J 7 Sky Pro cell phone, model number SM-S737TL,

 9                       serial number R28K52XQFC8, including its San Disk 200GB Ultra Plus

10                       micro SD card

11   (all of which constitutes property).

12          This Court finds that on the government’s motion, the Court may at any time enter

13   an order of forfeiture or amend an existing order of forfeiture to include subsequently

14   located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

15   32.2(b)(2)(C).

16          This Court finds the United States of America is now entitled to, and should, reduce

17   the aforementioned property to the possession of the United States of America.

18          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

19   DECREED that the United States of America should seize the aforementioned property.

20          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all possessory

21   rights, ownership rights, and all rights, titles, and interests of Richard Fred Dittmer, III, in

22   the aforementioned property are forfeited and are vested in the United States of America

23   and shall be safely held by the United States of America until further order of the Court.

24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States

25   of America shall publish for at least thirty (30) consecutive days on the official internet

26   government forfeiture website, www.forfeiture.gov, notice of this Order, which shall

27   describe the forfeited property, state the time under the applicable statute when a petition

28   contesting the forfeiture must be filed, and state the name and contact information for the
                                                     2
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 1   government attorney to be served with the petition, pursuant to Fed. R. Crim. P. 32.2(b)(6)

 2   and 21 U.S.C. § 853(n)(2). In the alternative, if the value of the property is less than $1,000,

 3   the government may instead serve every person reasonably identified as a potential claimant

 4   in lieu of publication pursuant to Fed. R. Crim. P. 32.2(b)(6)(C) with Fed. R. Civ. P. Supp.

 5   Rule G(4)(a)(i)(A).

 6          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual

 7   or entity who claims an interest in the aforementioned property must file a petition for a

 8   hearing to adjudicate the validity of the petitioner’s alleged interest in the property, which

 9   petition shall be signed by the petitioner under penalty of perjury pursuant to 21 U.S.C. §

10   853(n)(3) and 28 U.S.C. § 1746, and shall set forth the nature and extent of the petitioner’s

11   right, title, or interest in the forfeited property and any additional facts supporting the

12   petitioner’s petition and the relief sought.

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any,

14   must be filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas,

15   Nevada 89101, no later than thirty (30) days after the notice is sent or, if direct notice was

16   not sent, no later than sixty (60) days after the first day of the publication on the official

17   internet government forfeiture site, www.forfeiture.gov.

18          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the

19   petition, if any, shall be served upon the Asset Forfeiture Attorney of the United States

20   Attorney’s Office at the following address at the time of filing:

21                  Daniel D. Hollingsworth
                    Assistant United States Attorney
22                  James A. Blum
                    Assistant United States Attorney
23                  501 Las Vegas Boulevard South, Suite 1100
                    Las Vegas, Nevada 89101.
24

25          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice

26   described herein need not be published in the event a Declaration of Forfeiture is issued by

27   the appropriate agency following publication of notice of seizure and intent to

28   administratively forfeit the above-described property.
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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

 2   copies of this Order to all counsel of record.

 3         DATEDJanuary
           DATED: _____________________,
                         11, 2021.       2021.

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 6                                               JENNIFER A. DORSEY
                                                 UNITED STATES DISTRICT JUDGE
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